                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:09-cr-00039-W
 UNITED STATES OF AMERICA,                          )
                                                    )
                Plaintiff,                          )
                                                    )
         vs.                                        )                   ORDER
                                                    )
 MICHAEL GREENE,                                    )
                                                    )
                Defendant.                          )
                                                    )

       THIS MATTER is before the Court on Defendant’s Motion for Additional Testing of

Evidence (Doc. No. 549). For the reasons stated in open Court following the hearing on February

9, 2011, the Motion is DENIED. During that hearing, the Court found as a matter of fact that

Jennifer Lindley provided credible testimony as to the substance identified in Government’s Exhibit

28(a). Defendant has made no showing whatsoever to impeach Lindley’s credibility, nor does

Defendant present any legal reason to support re-testing the evidence. Defendant’s mere statements

and bare assertions that the substance was not cocaine are immaterial, particularly when the jury had

the opportunity to consider the credibility of Lindley’s testimony that the substance contained

cocaine and found the Defendant was involved in a drug trafficking conspiracy. Furthermore, on

at least two occasions during the February 9, 2011 hearing, Defendant requested the substance be

re-tested. The Court denied Defendant’s motion both times. This third request, like the other two,

woefully fails to provide sufficient reason to grant the relief requested by Defendant.

       IT IS THEREFORE ORDERED that Defendant’s Motion for Additional Testing is DENIED.
                                                 Signed: February 16, 2011




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